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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA


Alliance for Retired Americans, et
al.,

          Plaintiffs,

            v.                           Civil Action No. 25-313 (CKK)

Scott Bessent, in his official
capacity as Secretary of the
Treasury, et al.,

          Defendants.




     MEMORANDUM IN SUPPORT OF PLAINTIFFS’ MOTION FOR A
             TEMPORARY RESTRAINING ORDER




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Dated: February 5, 2025
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                                 INTRODUCTION

      The Bureau of the Fiscal Service (the Bureau) is an agency within the

Department of the Treasury (the Department) that manages the federal

government’s payment and collections system. The Bureau is not a policymaking body

and has no discretion to decide what payments the federal government should make

or what revenues it should collect—that is the work of federal agencies charged by

Congress with implementing federal programs. The Bureau’s primary function is to

ensure that the federal government’s financial transactions are processed in an

orderly manner.

      To fulfill its processing function, the Bureau collects and maintains sensitive

personal and financial information about every individual—every citizen, every

retiree, every taxpayer, every employee, every company—who makes a payment to or

receives a payment from the federal government. The Bureau has recognized the

sensitivity of the information it maintains on individuals, and has assured the public

that “[o]nly employees whose official duties require access are allowed to view,

administer, and control these records.” 85 Fed. Reg. 11766 (Feb. 27, 2020).

      Until last week.

      On Tuesday, January 28, 2025, Scott Bessent was sworn in as Secretary of the

Treasury. By Friday, January 31, he had disregarded the Bureau’s privacy

safeguards and authorized individuals associated with the so-called “Department of

Government Efficiency” (DOGE) to access the Bureau’s payment systems. Secretary

Bessent did not publicly announce this new policy—what is known is based on media

reporting—or attempt to justify it. He simply decided behind closed doors to allow
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individuals not involved in the processing of the government’s financial transactions

to root around in the Bureau’s records.

      Giving access to those records is unlawful. Congress has enacted laws to assure

the public that, when they submit their personal information to the federal

government, their information will be protected from improper and unnecessary

disclosure to third parties—whether within or outside the government. Two such

laws are implicated here. The Privacy Act of 1974 bars agencies from sharing records

about individuals with third parties. 5 U.S.C. § 552a. The Internal Revenue Code is

even more protective, requiring personal information related to taxes to be kept

“confidential.” 26 U.S.C. § 6103. None of the targeted exceptions in these laws allows

individuals associated with DOGE to obtain people’s personal information. Secretary

Bessent should have denied them access. Instead, he appears to have rushed ahead

by immediately opening up the Bureau’s records to provide DOGE with ongoing

access to individuals’ personal and financial information.

      Plaintiffs are a membership organization of retirees and two labor unions,

whose members rely on the Bureau’s financial systems to receive Social Security and

pension benefits, disability payments, and salaries and wages, as well as to pay

federal taxes and receive tax refunds. These individuals have no choice in whether

the Bureau will collect and maintain their personal and financial information—it

must have that information to do its job. But by giving DOGE full access to the

Bureau’s systems, Secretary Bessent has given unknown individuals access to the

personal information of Plaintiffs’ members without those members’ knowledge or



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consent. And the harm that decision has caused is happening right now, because

individuals associated with DOGE are already in the Bureau’s system. In these

circumstances, a temporary restraining order (TRO) is vital to protect the individual

privacy of Plaintiffs’ members until this Court can undertake an orderly resolution of

this dispute.

                                  BACKGROUND

Statutory Framework

      1. Privacy Act. Recognizing that “the privacy of an individual is directly

affected by the collection, maintenance, use, and dissemination of personal

information by Federal agencies,” Congress enacted the Privacy Act to “regulate the

collection, maintenance, use, and dissemination of information by such agencies.”

Pub. L. No. 93-579, §2(a)(1), (5), 88 Stat. 1896, 1896 (1974). The Privacy Act provides

“safeguards for an individual against an invasion of personal privacy by requiring

Federal agencies … to … collect, maintain, use, or disseminate any record of

identifiable personal information in a manner that assures that such action is for a

necessary and lawful purpose [and] that adequate safeguards are provided to prevent

misuse of such information.” Id. § 2(b)(4).

      Under the Privacy Act, an agency that has a system of records about

individuals must publish a notice in the Federal Register “of the existence and

character” of that system. 5 U.S.C. § 552a(e)(4). This notice is referred to as a System

of Records Notice (SORN). An agency must give the public 30 days’ notice of a new or

revised SORN and must provide an opportunity to comment on the proposed SORN.

Id. § 552a(e)(11). A SORN must disclose, among other things, “the categories of
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individuals on whom records are maintained in the system,” “the categories of records

maintained in the system,” “each routine use of the records contained in the system,

including the categories of users and the purpose of such use,” and “the policies and

practices of the agency regarding storage, retrievability, access controls, retention,

and disposal of the records.” Id. § 552a(e)(4). A “routine use” of a record is “the use of

such record for a purpose which is compatible with the purpose for which it was

collected.” Id. § 552a(a)(7).

       The Privacy Act also safeguards against disclosure of records. Absent the

consent of the individual to whom a particular record pertains, agencies may not

disclose a record “to any person, or to another agency.” Id. § 552a(b) . The Privacy Act

lists 13 exceptions to the bar on disclosure, only two of which are relevant to the

discussion here. First, an agency may disclose the records it maintains within the

agency “to those officers and employees of the agency … who have a need for the

record in the performance of their duties.” Id. § 552a(b)(1). Second, an agency may

disclose a record pursuant to a “routine use” identified in its SORN. Id. § 552(b)(3).

       2. The Internal Revenue Code. Congress has enacted heightened protections

for information that taxpayers submit in connection with tax filings. Under 26 U.S.C.

§ 6103(a), “[r]eturns and return information shall be confidential.” A “return”

includes “any tax or information return” or “claim for refund.” Id. § 6103(b)(1).

“Return information” includes “a taxpayer’s identity” and “or any other data, received

by, recorded by, prepared by, furnished to, or collected” in connection with federal

taxes. Id. § 6103(b)(2)(A). A taxpayer’s identity is defined to include not just the



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taxpayer’s name but also mailing address and taxpayer identifying number. Id. §

6103(b)(6). Section 6103(a) makes clear that “no officer or employee of the United

States” may disclose return or return information if the disclosure is not expressly

authorized.

      Section 6103 lists detailed exceptions to the confidentiality requirement. With

respect to the Department of the Treasury, one exception permits disclosure to

“officers and employees … whose official duties require such inspection or disclosure

for tax administration purposes.” Id. § 6103(h)(1); see also id. § 6103(h)(1) (defining

“tax administration”). Two other exceptions for the Treasury Department relate to

terrorism, id. § 6103(i)(7)(B)(i), and economic forecasting, id. § 6103(j)(3) .

The Bureau’s Operations

      The Treasury Department is responsible for managing the finances of the

United States Government. Its responsibilities include collecting receipts owed to the

government and making payments to recipients of public funds. 31 U.S.C. §§ 3301,

3321. In fiscal year 2024, the Department processed nearly $5 trillion in receipts,

including $2.4 trillion from individual income taxes, $1.7 trillion from social security

taxes, and $530 billion from corporate income taxes. In that fiscal year, the

Department handled $6.752 trillion in outlays, including $1.46 trillion for social

security payments and $874 billion in defense spending. U.S. Dep’t of Treas., Bur. of

Fiscal Serv., Final Monthly Treasury Statement, Receipts and Outlays of the United

States Government for Fiscal Year 2024 Through September 30, 2024, and Other




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Periods 4. It is the largest collections, payments, cash management, and financial

operation in the world.

      The Bureau is the component of the Treasury Department charged with

carrying out the U.S. government’s financial transactions. As the Bureau explains on

its website, it “collect[s] revenue, delinquent debt, and disburse[s] funds to millions

of   Americans     ensuring    their   timely    receipt   of      benefit   payments.”

https://www.fiscal.treasury.gov/public/. The Bureau also provides “electronic options

for paying federal taxes, charges, and fees.” https://www.fiscal.treasury.gov/

about.html.

      To carry out these functions—that is, to send money and receive money—the

Bureau needs to collect and maintain extensive personal and financial information

about individuals. The Bureau has therefore published SORNs describing its systems

of records, the types of information it collects, and the policies it has adopted about

the routine uses and safeguards applicable to that information. 85 Fed. Reg. 11776.

The Bureau has 20 systems of records in total, but three exemplify the nature of the

personal information that the Bureau uses to carry out its functions.

      SORN .002 concerns payment records, which are records “collected from

federal government entities that are requesting disbursement of domestic and

international payments to their recipients and is used to facilitate such payments.”

85 Fed. Reg. at 11779. This system applies to “[i]ndividuals who are the intended or

actual recipients of payments disbursed by the United States Government.” Id.

Personal information contained in these records include “a payee’s name, Social



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Security number, employer identification number, or other agency identification or

account number; date and location of birth, physical and/or electronic mailing

address; telephone numbers; [and] payment amount,” as well as “financial institution

information, including the routing number of his or her financial institution and the

payee’s account number at the financial institution.” Id.

      SORN .012 concerns records about individuals who owe a debt to the

government. 85 Fed. Reg. at 11793. This system of records contains personal

information similar to SORN .002, plus other information such as “information

concerning the financial status of the debtor and his/her household, including income,

assets, liabilities or other financial burdens, and any other resources from which the

debt may be recovered”; and the name of employer or employer contact information.

Id. at 11794. SORN .013 concerns records “about individuals who electronically

authorize payments to the Federal Government,” which may contain driver’s license

numbers; bank account information; credit and debit card numbers; individual

payment information; and user names and passwords. Id. at 11796–97.

DOGE and DOGE’s access to the Bureau’s systems

      On the day of his inauguration, President Trump issued an executive order

establishing a so-called “Department of Government Efficiency.” Under the executive

order, the United States Digital Service was renamed the United States DOGE

Service (USDS) and a “temporary organization” was established under 5 U.S.C.

§ 3161 entitled “the U.S. DOGE Service Temporary Organization.” The executive

order directs the USDS Administrator to “work with Agency Heads to promote inter-



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operability between agency networks and systems, ensure data integrity, and

facilitate responsible data collection and synchronization.” It also directs agency

heads to “take all necessary steps, in coordination with the USDS Administrator and

to the maximum extent consistent with law, to ensure USDS has full and prompt

access to all unclassified agency records, software systems, and IT systems.” The

executive order “displaces all prior executive orders and regulations, insofar as they

are subject to direct presidential amendment, that might serve as a barrier to

providing USDS access to agency records and systems as described above.” See

Executive Order, Establishing and Implementing the President’s “Department of

Government Efficiency” (Jan. 20, 2025).

      Although no formal announcement has been made by the White House,

billionaire entrepreneur Elon Musk has been widely reported to have played a

leadership role in DOGE. Mr. Musk was recently made a special government

employee. Nandita Bose & Steve Holland, Trump makes Musk, the world's richest

man, a ‘special government employee’, Reuters (Feb. 3, 2025); see also 18 U.S.C.

§ 202(a).

      President Trump had proposed DOGE during the presidential campaign, and

after the election, individuals associated with DOGE reportedly approached officials

in the Department seeking access to the agency’s payment systems. Initially, DOGE’s

requests for access were reportedly rebuffed by David A. Lebryk, the highest-ranking

career official at the agency and the individual who had been in charge of the Bureau.




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Jeff Stein et al., Senior U.S. official to exit after rift with Musk allies over payment

system, Wash. Post, Jan. 31, 2025.

      That changed after Secretary Bessent was sworn in as Treasury Secretary on

January 28, 2025. Secretary Bessent and his chief of staff Dan Katz reportedly had a

meeting with Mr. Lebryk later that week, after which Mr. Lebryk was placed on

administrative leave. On Friday, January 31, Mr. Lebryk announced that he was

retiring from the Treasury after 35 years in federal service. Andrew Duehren et al.,

Treasury Official Quits After Resisting Musk’s Requests on Payments, N.Y. Times,

Jan. 31, 2025 (Duehren Article). Shortly, thereafter, it was reported that “[t]he

Treasury Department has agreed to give Elon Musk’s Department of Government

Efficiency access to a payment system that distributes trillions of dollars in

entitlement benefits, grants and tax refunds to Americans each year.” Brian

Schwartz, Elon Musk’s DOGE Getting Access to Payment System Doling Out Trillions

to Americans, Wall St. J., Feb. 1, 2025.

      The Department has not released the full list of DOGE-affiliated individuals

who have been provided access to the Treasury’s payment systems, or whether those

individuals are employees of the Bureau, the Department, another agency, or a

private enterprise. Secretary Bessent has reportedly “signed off on a plan to give

access to the payment system to a team led by” Tom Krause, the Chief Executive

Officer of Cloud Software Group (according to that company’s website, see

https://www.cloud.com/leadership (Feb. 5, 2025)), who is identified as “a liaison to

Musk’s DOGE group that operates out of” the USDS. Michael Stratford et al., Trump



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administration gives Musk allies access to Treasury payment system, Politico, Feb. 1,

2025. Defendants have not publicly provided the details of the “plan” for access that

Secretary Bessent reportedly signed off on or disclosed the members of Mr. Krause’s

team. On February 4, Defendants asserted that Mr. Krause is a “special government

employee” working with “staff members” who will have “read-only access to the coded

data” in the Bureau’s system. Treasury Department Letter to Members of Congress

Regarding Payment Systems (Feb. 4, 2025), https://home.treasury.gov/news/press-

releases/sb0009. But reporting indicates that at least one member of DOGE, who does

not appear to be an agency staff member, has “direct access” to the Bureau’s systems,

which include “the ability not just to read but to write code on two of the most

sensitive systems in the U.S. government” that “control, on a granular level,

government payments that in their totality amount to more than a fifth of the US

economy.” Vittoria Elliott et al., A 25-Year-Old With Elon Musk Ties Has Direct

Access to the Federal Payment System, Wired, Feb. 4, 2025; Jake Bleibeg et al., US

Treasury Brings In Two Members From Musk’s DOGE Team, Bloomberg, Feb. 4, 2025

(identifying “Tom Krause, the chief executive of Cloud Software Group Inc. and

Marko Elez, an engineer who has worked for SpaceX and social-media platform X” as

“two people connected to the so-called Department of Government Efficiency” who

had been brought into the Department, “although their exact roles are unclear to

much of the department’s staff”). The Department, moreover, has not denied that

DOGE members will be able to read sensitive information about individuals

contained in the Bureau’s records.



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                               LEGAL STANDARD

      To obtain a temporary restraining order, “the moving party must show: (1) a

substantial likelihood of success on the merits; (2) that it would suffer irreparable

injury if the [temporary restraining order] were not granted; (3) that [such an order]

would not substantially injure other interested parties; and (4) that the public

interest would be furthered” by the order. Chaplaincy of Full Gospel Churches v.

England, 454 F.3d 290, 297 (D.C. Cir. 2006) (citations omitted); see also Hall v.

Johnson, 559 F. Supp. 2d 1, 3 n.2 (D.D.C. 2009) (“[T]he same standard applies to both

temporary restraining orders and to preliminary injunctions.” (citation omitted)).

“When the movant seeks to enjoin the government, the final two TRO factors—

balancing the equities and the public interest—merge.” D.A.M. v. Barr, 474 F. Supp.

3d 45, 67 (D.D.C. 2020) (citing Pursuing Am.’s Greatness v. FEC, 831 F.3d 500, 511

(D.C. Cir. 2016)).

                                   ARGUMENT

I.    Plaintiffs are likely to succeed on the merits.

          a. Defendants’ action giving DOGE access to the Bureau’s records
             is contrary to law and in excess of their statutory authority.

      “Agencies must operate within the legal authority conferred by Congress,” and

“courts have the responsibility to determine whether ‘individual rights’ have been

infringed ‘by the exertion of unauthorized administrative power.” Med. Imaging &

Tech. All. v. Libr. of Cong., 103 F.4th 830, 838 (D.C. Cir. 2024). Under the

Administrative Procedure Act (APA), when an agency’s action is “not in accordance

with law,” courts have a duty to set it aside. 5 U.S.C. § 706(2)(A). Even apart from


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the APA, courts may enjoin ultra vires actions by an agency that are in excess of its

statutory authority. Ctr. for Biological Diversity v. Trump, 453 F. Supp. 3d 11, 50

(D.D.C. 2020). An agency’s decision to disclose information in violation of law is the

type of agency action for which the courts can provide redress. Chrysler Corp. v.

Brown, 441 U.S. 281, 318–19 (1979) (discussing reverse-FOIA actions).

        Here, any statutory authority Defendants would otherwise have to authorize

individuals associated with DOGE to access the sensitive personal and financial

information stored in the Bureau’s records is constrained by the Privacy Act and

section 6103 of the Internal Revenue Code. There is no question that the records at

issue here are records about individuals covered by the Privacy Act: “information

about an individual that is maintained by an agency” and that identifies the

individual. 5 U.S.C. § 552a(a)(4). Indeed, the Bureau published SORNs in the Federal

Register precisely because it recognized that the personal information that it needs

to effectuate financial transactions for the government is protected by the Privacy

Act.

        The Privacy Act prohibits Defendants from disclosing the Bureau’s records on

individuals to any person or any agency without the consent of the individual affected,

unless an express exception applies. Defendants manifestly did not obtain individual

consent before allowing DOGE-affiliated individuals to access the Bureau’s records,

and none of the statutory exceptions applies to DOGE’s activities. For instance, one

exception allows disclosure to “officers and employees of the agency which maintains

the record who have a need for the record in the performance of their duties.” Id.



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§ 552a(b)(1). Although Defendants have not been transparent about how much access

DOGE representatives have, or whether those with access include individuals who

are not agency officers or employees, DOGE representatives reportedly began

requesting access to the Bureau’s systems before the changeover in the

administration. The timing indicates that DOGE’s interest in the Bureau’s payment

systems is unrelated to the job duties of any agency officer or employee.

      Similarly, the routine-use exception does not apply. The Bureau last published

its list of routine uses in 2020, well before DOGE was conceived by President Trump

or Elon Musk as a tool for the administration to use to make changes to the operation

of federal agencies and programs. And in any event, “agencies covered by the Privacy

Act may not utilize the ‘routine use’ exception to circumvent the mandates of the

Privacy Act.” Doe v. Stephens, 851 F.2d 1457, 1466 (D.C. Cir. 1988).

      With respect to tax records protected by section 6103, the prohibition on

sharing of information is even more straightforward. Section 6103 permits the

Department to use returns and return information exclusively for tax administration,

as well as terrorism-related activities and economic forecasting. To the extent that

the Department has authorized disclosure of tax information for other purposes or to

individuals outside of the Department, its action is unlawful under section 6103.

         b. Defendants’ action is arbitrary and capricious.

      Plaintiffs are also likely to succeed on their claim that Defendants’ decision to

permit DOGE-affiliated individuals to access restricted information is arbitrary and

capricious. The APA “requires agencies to engage in ‘reasoned decisionmaking.’” Dep’t

of Homeland Sec. v. Regents of the Univ. of California, 591 U.S. 1, 16 (2020) (quoting
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Michigan v. EPA, 576 U.S. 743, 750 (2015)). An agency’s decision is arbitrary if the

agency “failed to consider an important aspect of the problem.” Motor Vehicle Mfrs.

Ass’n of U.S., Inc. v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983).

      Here, Secretary Bessent, within a week of being sworn in, reversed the

Department’s longstanding policy fully protecting individuals’ personal information,

which led the Bureau to bar individuals affiliated with DOGE from accessing the

Bureau’s systems and the records about individuals contained therein under the prior

administration. In doing so, he failed to engage in reasoned decisionmaking. Not only

did Defendants fail to take account of their legal obligations under federal law to

protect personal information contained in their records, they ignored the reliance and

expectation interests that retirees, employees, taxpayers, and millions of others have

with respect to the privacy of the personal information they must share with the

government to receive benefits, pay taxes, receive their salaries and wages, and

otherwise engage in financial transactions with federal agencies. See Rebecca Kheel,

‘Infinite Nightmares at Once’: Veterans Data Swept Up in Musk’s Takeover of

Treasury System, Military.com, Feb. 4, 2025. Even putting aside that Defendants lack

authority to invite DOGE into the Bureau’s systems to view people’s personal data

for their own purposes, giving access to this sensitive information to the nebulous

DOGE entity, see Jack Newsham, Some members of Elon Musk’s DOGE squad aren’t

sharing their last names as they attempt to remake the federal workforce, Business

Insider, Feb. 4, 2025 (“Elon Musk’s federal efficiency team is shielding the identities




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of some of its members during meetings with federal workers”), lacks a rational basis

and is unreasonable.

II.      Plaintiffs will suffer immediate, irreparable injury if Defendants
         continue to allow unlawful access to the agency’s records on
         individuals.

         Plaintiffs are suffering, and will continue to suffer, irreparable injury from

Defendants’ ongoing exposure of their sensitive personal and financial data to third-

party access. “An irreparable harm is an imminent injury that is both great and

certain to occur, and for which legal remedies are inadequate.” Beattie v. Barnhart,

663 F. Supp. 2d 5, 9 (D.D.C. 2009). Defendants have allowed third parties unlawful

access to Plaintiffs’ members’ private information and, unless enjoined, will continue

to grant such access. Plaintiffs’ injury, then, is not only imminent and certain—it is

already occurring. Moreover, equitable relief is needed to end Defendants’ ongoing

exposure of highly vulnerable information, such as the Social Security numbers, bank

account details, and home addresses and telephone numbers of Plaintiffs’ members.

Every additional moment that this information remains accessible to unauthorized

third parties compounds the injury to individual privacy by increasing the

opportunity for further dissemination. See Decl. of Steven K. Ury ¶ 10 (explaining

continuing harm to SEIU members from Elon Musk’s and DOGE’s access to members’

data).

         The protections enshrined in the Privacy Act and the Internal Revenue Code

reflect Congress’s sound judgment that individuals have a right to expect that access

to the sensitive information that they share with the government will be strictly

limited. 5 U.S.C. § 552a(e)(10) (requiring agencies to “insure the security and
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confidentiality” of federal records subject to the Privacy Act to protect against

“substantial harm, embarrassment, inconvenience, or unfairness to any individual on

whom” the records are maintained); see Cause of Action v. IRS, 125 F. Supp. 3d 145,

163 (D.D.C. 2015) (noting that the “‘core purpose’ of section 6103” of the Internal

Revenue Code “is to ‘protect[] taxpayer privacy.’” (alteration in original; quoting

Church of Scientology of Cal. v. IRS, 484 U.S. 9, 16 (1987)). By allowing third parties

access to confidential information that Congress sought to protect, Defendants have

established a total and ongoing injury to the privacy rights of Plaintiffs’ members.

Council on Am.-Islamic Relations v. Gaubatz, 667 F. Supp. 2d 67, 76 (D.D.C. 2009)

(observing that if “proprietary, privileged, and confidential information” were “used

and/or continue[d] to be disclosed” during the pendency of a lawsuit challenging such

use and disclosure, “the very rights [the lawsuit] seeks to protect will have been

destroyed”); Decl. of Everett Kelley ¶ 8 (“Such access violates the privacy of AFGE

members, none of whom consented to have their personal and financial data shared

with Mr. Musk, members of DOGE, or other third parties.”).

      This injury—which is not only imminent but actively occurring already—

cannot be remedied after the fact. “Obviously, once … highly personal information is

disclosed …, the revelation cannot be undone.” Nat’l Treasury Emps. Union v. U.S.

Dep’t of Treasury, 838 F. Supp. 631, 640 (D.D.C. 1993); see also Hospitality Staffing

Sols., LLC v. Reyes, 736 F. Supp. 2d 192, 200 (D.D.C. 2010) (“This Court has

recognized that the disclosure of confidential information can constitute an

irreparable harm because such information, once disclosed, loses its confidential



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nature.”); Wilcox v. Bastiste, No. 2:17-cv-122, 2017 WL 2525309, at *3 (E.D. Wash.

2017) (“In the age of the internet, when information is made public quickly and

without borders, it is nearly impossible to contain an impermissible disclosure after

the fact ….”). And the longer that the private information of Plaintiffs’ members

remains accessible to unauthorized third parties, the greater the irreparable injury

is. After all, as long as the sensitive data of Plaintiffs’ members remains accessible to

Mr. Musk and other members of DOGE, the more opportunity there is for that data

to be disclosed to still more unauthorized third parties, either accidentally or

deliberately. See Decl. of Richard J. Fiesta ¶ 9 (expressing concern of risk to members

of Alliance for Retired Americans of “increased risk of identity theft, fraudulent

financial activities, further unconsented disclosures to additional third parties, and

other misuse of their sensitive personal and financial data”).

      What is more, many of Plaintiffs’ members who are presently experiencing

progressively worsening injury to their privacy rights would not even be eligible for

retrospective monetary damages if they were required to seek relief in that form.

Under FAA v. Cooper, 566 U.S. 284 (2012), damages for a Privacy Act violation are

available only to those individuals who can establish “proven pecuniary or economic

harm,” id. at 299, because Congress declined to waive sovereign immunity for claims

of “nonpecuniary harm, even if such harm can be proved,” id. at 301. For those

individuals whose privacy rights have been—and continue to be—violated by

Defendants but who have not experienced resultant economic losses, damages are not




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even arguably a means of ameliorating the irreparable injuries that Defendants are

presently inflicting.

        Ultimately, absent a temporary restraining order from this Court, Plaintiffs

will continue to experience invasions to their members’ privacy that are incapable of

being undone.

III.    The balance of equities and the public interest support grant of a
        TRO.

        As against the certain and irreparable injury that innumerable members of the

public—including Plaintiffs’ members—are presently experiencing as a result of

Defendants’ unlawful actions, Defendants would suffer no cognizable harm if

enjoined from continuing to perpetrate those actions. After all, “[i]t is well established

that the Government ‘cannot suffer harm from an injunction that merely ends an

unlawful practice.’” C.G.B. v. Wolf, 464 F. Supp. 3d 174, 218 (D.D.C. 2020) (quoting

Open Cmties. Alliance v. Carson, 286 F. Supp. 3d 148, 179 (D.D.C. 2017)). Moreover,

Defendants would suffer no injury from remaining bound by the same confidentiality

restrictions that bound them as recently as last month, before DOGE came into

existence—and certainly no reason why Defendants would suffer injury from being

temporarily barred from granting DOGE access to confidential materials during the

period in which this Court assesses whether such access is lawful. The balance of

equities thus tips decisively in favor of granting temporary relief here.

        Meanwhile, a temporary restraining order would serve the public interest.

“There is generally no public interest in the perpetuation of an unlawful agency

action.” Open Cmties. Alliance, 286 F. Supp. 3d at 179 (citation omitted). “To the


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contrary, there is a substantial public interest in having governmental agencies abide

by the federal laws.” Id. (citation omitted).

                                    CONCLUSION

      For the foregoing reasons, Plaintiffs respectfully request that this Court grant

their motion and enter a temporary restraining order enjoining Defendants from

disclosing information about individuals to individuals affiliated with DOGE, and

enjoining Defendants to retrieve and safeguard any such information that has

already been obtained by DOGE or individuals associated with it.


Dated: February 5, 2025                         Respectfully submitted,

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